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                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



In Re: SERESTO FLEA AND TICK                           MDL. NO. 3009
COLLAR MARKETING, SALES
PRACTICES AND PRODUCTS
LIABILITY LITIGATION



DECLARATION OF TAREK ISMAIL IN SUPPORT OF DEFENDANTS’ UNOPPOSED
   MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF LAURA
 REVOLINKSY’S MOTION FOR TRANSFER OF ACTIONS TO THE DISTRICT OF
              NEW JERSEY PURSUANT TO 28 U.S.C. § 1407
    FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

       I, Tarek Ismail, hereby declare:

       1.      I am an attorney duly licensed to practice before all courts of the State of Illinois,

and I am a partner at the law firm Goldman Ismail Tomaselli Brennan & Baum LLP, attorneys for

Defendants Bayer Corporation, Bayer HealthCare LLC, Bayer HealthCare Animal Health Inc.,

Bayer U.S. LLC, Elanco Animal Health Inc., and Elanco U.S. Inc. in all actions subject to Plaintiff

Laura Revolinsky’s Motion for Transfer of Actions to the District of New Jersey Pursuant to 28

U.S.C. § 1407 For Coordinated or Consolidated Pretrial Proceedings (“Motion to Transfer”). I

have personal knowledge of the facts stated herein, and if called as a witness, I could and would

competently testify thereto under oath.

       2.      On April 5, Dphrepaulezz v. Bayer Healthcare LLC, et al., Case No. 3:21-cv-

02439-EMC, was filed in the Northern District of California. Service of process has not been

completed.

       3.      On April 6, Walsh v. Elanco Animal Health, Inc., Case No. 1:21-cv-02929-AT, was

filed in the Southern District of New York. Service of process has not been completed.
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        4.      On April 19, Borchek, et al. v. Bayer Healthcare LLC, et al., Case No. 1:21-cv-

02099-JRB, was filed in the Northern District of Illinois. Service of process has not been

completed.

        5.      On April 22, Revolinsky v. Elanco Animal Health Incorporated, et al., Case No.

2:21-cv-10003-SDW-MAH, was filed in the District of New Jersey. Service of process has not

been completed.

        6.      On May 5, 2021, counsel for plaintiffs in three of the actions subject to the Motion

to Transfer confirmed via email that plaintiffs in all of the subject actions do not oppose a 14-day

extension of time for Defendants to respond to Plaintiff Revolinsky’s Motion to Transfer.

        7.      Attorneys at my firm have spoken with counsel for plaintiffs in multiple actions

subject to the Motion to Transfer regarding the possibility of informal coordination. These

conversations have included discussion of various alternatives to centralization, including

engaging in informal coordination of discovery and scheduling, and seeking Section 1404 transfer

of one or more of the subject actions. These discussions are ongoing, and the parties would benefit

from additional time to reach an agreement.



        I declare under penalty of perjury under the laws of the state of Illinois that the foregoing

is true and correct.

        Executed this 5th day of May, 2021, in Buffalo Grove, Illinois.



                                                /s/ Tarek Ismail
                                               Tarek Ismail




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